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                                      #:2088


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  8
  9                      IN THE UNITED STATES DISTRICT COURT
 10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 12
 13   JEFF T. GRANGE, M.D.,                         5:22-cv-00340 DSF (AGRx)
 14                                    Plaintiff, [PROPOSED] ORDER GRANTING
                                                  STIPULATION FOR COURT TO
 15                v.                             CONTINUE TO RETAIN
                                                  JURISDICTION OVER MATTER
 16
      LORI POZUELOS AND JASON                   Courtroom: 7D
 17   WESSELY,                                  Judge:        The Honorable Dale S.
                                                              Fischer
 18                                 Defendants. Trial Date: Vacated
                                                Action Filed: 2/24/2022
 19
 20        GOOD CAUSE HAVING BEEN SHOWN:
 21        The Court extends its jurisdiction over this matter to vacate its January 22,
 22   2025 Order Dismissing Case Due to Settlement (document number 79) and to
 23   reopen the action upon a showing of good cause that the settlement has not been
 24   completed and further proceedings are necessary. The Court will retain jurisdiction
 25   over this matter until May 7, 2025, or until a stipulation for dismissal with prejudice
 26   is filed, whichever occurs earlier.
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                                   #:2089


  1   IT IS SO ORDERED.
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  3   Dated: _______________, 2025                 ____________________________
                                                   Dale S. Fischer
  4                                                United States District Judge
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